                 IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 COMMON CAUSE, et al.,                       )
                                             )
              Plaintiffs,                    )
                                             )
       v.                                    )
                                             )
                                                           CIVIL ACTION
 ROBERT A. RUCHO, in his official            )
                                                    NO. 1:16-CV-1026-WO-JEP
 capacity as Chairman of the North           )
 Carolina Senate Redistricting               )
                                                         THREE-JUDGE COURT
 Committee for the 2016 Extra Session        )
 and Co-Chairman of the Joint Select         )
 Committee on Congressional                  )
 Redistricting, et al.,                      )
                                             )
              Defendants.


 League of Women Voters of North             )
 Carolina, et al.,                           )
                                             )
              Plaintiffs,                    )
                                             )
       v.                                    )
                                             )             CIVIL ACTION
 Robert A. Rucho, in his official capacity   )       NO. 1:16-CV-1164-WO-JEP
 as Chairman of the North Carolina           )
 Senate Redistricting Committee for the      )           THREE-JUDGE COURT
 2016 Extra Session and Co-Chairman of       )
 the 2016 Joint Select Committee on          )
 Congressional Redistricting, et al.,        )
                                             )
              Defendants.                    )
                                             )


      Defendants Robert A. Rucho, David R. Lewis, Philip E. Berger, and Timothy K.

Moore (“legislative defendants”) in the above-captioned consolidated actions hereby give

notice of their appeal to the Supreme Court of the United States from the Memorandum




      Case 1:16-cv-01026-WO-JEP Document 121 Filed 01/11/18 Page 1 of 4
Opinion and associated Order [D.E. 118 in Case No. 1:16-cv-1026 & D.E. 116 in Case

No. 1:16-cv-1164] entered by the Court on January 9, 2018.

      This appeal is taken under 28 U.S.C. § 1253.

      Respectfully submitted this 11th day of January, 2018.



                                      OGLETREE, DEAKINS, NASH
                                      SMOAK & STEWART, P.C.

                                      /s/ Phillip J. Strach
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     Case 1:16-cv-01026-WO-JEP Document 121 Filed 01/11/18 Page 2 of 4
                             CERTIFICATE OF SERVICE

       It is hereby certified that the foregoing NOTICE OF APPEAL has been

electronically filed with the Clerk of Court using the CM/ECF system which will provide

electronic notification of the same to the following:

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      Case 1:16-cv-01026-WO-JEP Document 121 Filed 01/11/18 Page 3 of 4
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      This the 11th day of January, 2018.

                                        OGLETREE, DEAKINS, NASH
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                                        /s/ Phillip J. Strach
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     Case 1:16-cv-01026-WO-JEP Document 121 Filed 01/11/18 Page 4 of 4
